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Comité International pour la Transition ala Démocratie en tran
International Committee for Transition to Democracy in Iran
Comitato Internazionale per Transizione a la Democrazia nell’Iran / Comité Internacional por Transici?n
Democratica en Ir?n
Internationales Komitee fiir den Ubergang zur Demokratie im Iran

Mr. Kofi Annan, Secretary-General
The United Nations Organization
United Nations Plaza
New York, NY, 10017
USA
30 June 200

Your Excellency,

As you are no doubt aware, the conditions of Human Rights in Iran have, over the last few years, deteriorated once again
The hopes that the reform movement would put an end to the arbitrariness of IRI’s judicial system have all but been dashed
As various NGO Human Rights organizations, such as Amnesty International and Human Rights Watch, as well a
Reporters sans Frontiéres (some of which are accredited with the UNO) have amply documented, the gross violations o
fundamental rights of Iranian citizens, of all creeds and persuasions—in spite of pretensions to the contrary by the regime i
Tehran—that taken place. Of particular concern is the arbitrary role the Judiciary system under Ay. Shahroudi has bee
increasingly playing in the repression of fundamental liberties enunciated in the Universal Declaration of Human Rights, t
which the Iranian State has long been a signatory. Noteworthy is also the arrest, torture (now more psychological tha
physical), and Kangaroo trials of various dissidents and opponents of the present regime, among whom are to be foun
lawyers, university professors, students, and journalists, including some belonging to the reformists close to Presiden
Khatami. No less important is the kidnapping and murder of dissident intellectuals, whose killers, when arrested and “tried,
have been either given light sentences or simply freed.

A good number of journalists, writers, and even lawyers have been incarcerated merely because they have sought to exercis
their profession freely. Investigating journalists (such as ‘Emad al-Din Baqi et Akbar Gandji) who have endeavoured t
throw light on these murders and their origins within the ruling clericracy have been incarcerated.

Of great concern is the case of lawyers who have defended the families of writers dastardly kidnapped and murdered b
gangs supported by certain circles within the clericracy. One such lawyer is Dr. Nasser Zarafshan, attorney of the families o
dissident intellectuals murdered in 1998, who was given a five-year sentence and fifty lashes for having dared to raise th
question of possible involvement of the Ministry of Information (the political police) in the murders.

However incredible it may seem, lawyers such as M. Dadkhah, defending other attorneys put on trial, have been, in turn
tried and imprisoned, on charges of having “sympathized” with their client-colleagues, their only “crime” being merely th
will to practice their profession.

While the murder of opponents of the regime abroad in the 1980s and 1990s has happily come to an end, thanks t
international pressure and severe judicial proceedings in Europe (such as the case of the murderers of Iranian Kurdis
leaders in Berlin), the worsening of the conditions of Human Rights inside Iran, which also includes the stoning of wome
to death in public as well as public hanging of those condemned for non-political offenses, has not led to internationa
measures and sanctions against the present Iranian State—all the more indignantly since HR organizations mentioned aboy
have publicly denounced the deterioration of these conditions in Iran.

The all-powerful Judiciary branch of the regime that controls the effective exercise of power continues to strangle Huma
Rights. The oldest political prisoner under the present regime (since fall 1979), former Deputy Prime Minister (Mr. A. Amir
Entezam) has recently been rearrested while on short “leave” for medical treatment. His conditions in prison have bee
reported critically worsened. Flagrantly unfair “trials” of political opponents, solitary confinement of detainees, extraction 0
confessions under duress (as in the televised case of S. Pourzand, a seventy-three-year-old journalist seized in Novembe
2001), and harsh conditions of detention for a number of prisoners, especially the elderly, have caused extreme concern.

A “Revolutionary Court” in Hamadan handed out a death sentence against an academic and an invalid veteran of the Iraq
invasion of Iran (Pr. Aghajari) for an alleged blasphemy and insulting the clergy. Pollsters (such as Behrouz Geranpayeh
have been accused of collaboration with US and British intelligence agencies and condemned to long prison terms merel
for having published poll results disagreeable to the regime. Dissident clerics (such as former Majles deputy Mohse

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‘Youssephi Eshkevari and former Interior Minister ‘Abdullah Nouri) have been condemned to several years of imprisonmen

for their opinions. Thus, while the well known murderers of intellectuals have been set free, students (such as A. Batebi, M
Lohrassbi, A. Mohammadi, M. Mohammadi, and A. Afshari) have been given long sentences for having participated i
protest demonstrations at the university in 1999. As unbelievable as it may seem, in 2002 at least 30 parliamentarians (of th
reformist wing) were arrested and interrogated by judicial officials and sentenced in connection with allegations o
“defamation, slander and spreading false information, although only one was imprisoned by the end of the year. In Octobe
2002 female journalist Fatemeh Govara’i was sentenced to six months’ imprisonment and 50 lashes for an interview sh
gave to a newspaper. She appealed against the sentence.

According to the Human Rights Watch’s report published in April 2003, in 2002, 26 political dissidents were arrested an
accused by the judiciary of “acts against national security” and “seeking to overthrow the state by illegal means.” All fiftce
participants at a Berlin conference organized by the Berlin House of Culture were summoned by the Judiciary authoritie
and accused of vague charges. From among them, Human rights lawyer Ms. Mehrangiz Kar and publisher and women’
rights activist Ms. Shahla Lahiji, were both detained for several months, then sentenced to four years’ imprisonment, whic
sentences were reduced on appeal, under international pressure, to fines. Translators Khalil Rostamkhani and Sa‘id Sadr o
the German Embassy in Tehran were sentenced, in the same connection, to “nine (Teduced to eight on appeal) and 10 years
imprisonment respectively, to be served in cities far from their homes and families.”

No less importantly, ethnic and religious minorities continue to suffer from terrible discrimination.

The ferocious inhumanity of those who run the regime from Tehran is also reflected in the two following cases. Irania
dancer M. Khordadian, who had, after twenty years, returned from the US to visit his family, was arrested on charges o
“corrupting public morality,” and given a ten-year (suspended) prison term and banned from returning to the United States
Iranian actress, Ms. Gohar Kheyrandish, who had kissed a film director on his forehead at a film festival, was als
prosecuted for “corrupting public morality.”

Senior Shiite ulama have not been spared in this untamed repression. Grand Ay. H.A. Montazeri, the former designate
successor to Ayatollah Khomeini, has remained under house arrest in Qom merely for his opposition to the presen
leadership. It is noteworthy that on 8 July 2002, even Ayatollah Jalal al-Din Taheri, Friday Prayer Leader of Isfahan
appointed by Ay. Khomeini, tendered his resignation, observing that power centers of the regime were “unchecked an
unbridled ... neither reproached by the executors of justice nor reproved by the law.” Such an admission, by a high-rankin
clericrat, of lack of accountability, of corruption and of lawlessness, must strike a deep cord with those concerned wit
Human Rights at the international level as it has with the Iranian peopie.

In one word, the rule of law in Iran has but disappeared totally, giving way to unprecedented arbitrariness by a few “judges
of Islamic courts who act as prosecutor, jury and judge all at the same time.

The latest Amnesty International reports (for 2001 and 2002) have stressed that in Iran “scores of students, academics an
journalists, along with a number of lawyers, were arrested and faced politically motivated criminal charges based on vaguel
worded defamation or security provisions. Such arrests were part of the clampdown on freedom of expression an
association led by judicial officials. Reports of ill treatment and torture continued to be received without any sign o
independent investigation. At least 113 individuals were executed [in 2002}, including long-term political prisoners and i
particular those connected with illegal parties supporting the Kurdish minority. They included two people reported
executed by stoning. At least 84 individuals were flogged, many in public.” Amnesty adds that in 2001 “at least 139 people
including one minor, had been executed and 285 flogged, many in public.”

Paradoxically, in April 2002, during the fifty-eight session of the U.N. Commission on Human Rights, a draft resolutio
criticizing the situation in Iran was defeated by a roll-call vote of twenty to nineteen, with fourteen abstentions, marking th
first lime in more than fifteen years that a resolution criticizing Iran's human rights practices did not pass at the commission
Thus the UN Commission on Human Rights turned a blind eye to see this glaringly inhuman treatment of Iranian dissidents
The reason seems be in the explanation provided by Human Rights Watch report, published in April 2003, “A powerfu
grouping of hostile governments” have joined the UN Commission in recent years in order “to oppose several importan
country initiatives” regarding Human Rights in the world. In this light, the question that victims of Human Rights violation
justifiably ask themselves is whether the sovereignty of UN member states grants them the license to collectively protect th
violation of the UN Charter and other conventions they are signatory to?

The International Committee for Transition to Democracy in Iran calls on Your Excellency, Secretary-Generai of the Unite
Nation, and the Commission for Human Rights to bring pressure to bear on the Iranian Islamic State:

1 - To establish Human Rights as enunciated in the UDHR and abide by all other international conventions to which Lran ha
long been a signatory;

2 - To remove all “legal” and practical impediments to the monitoring and reporting on the situation of Human Rights 1
lran, facilitating visits by the U.N. Special Rapporteurs, as well as NGOs such as Amnesty International, Reporters san
Frontiéres, and Human Rights Watch, in order to investigate the reported violence against women, torture of prisoners
and freedom of religion.

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The International Committee for Transition to Democracy in Iran urges Your Excellency as Secretary-General, as well as th
U.N. Commission on Human Rights, who are required by the Charter to monitor the conditions of Human Rights, t
convene as soon as possible a special session of the UNHRC to consider the deteriorating situation of HR in Iran, in whic
witnesses from inside and outside Iran could offer testimonies regarding this question, and to make recommendations o
how all citizens’ rights can be best protected in that country. This initiative would be no novelty in the annals of the UN, a
the Commission on Human Rights has held special debates during its regular sessions to deal with past Human Rights crise
in Chechnya, the Palestinian Occupied Territories, former Yugoslavia, Rwanda, East Timor, and Israel. Indeed, there is als
the precedent of active intervention by your Secretariat in bringing pressure to bear on the Burmese Government to free Ms
Aung San Suu Kyi and to allow her to pursue her activities for the restoration of democracy to her country. There is all th
more reason for an intervention of this nature in a far more sensitive region of the world.

This Committee would also like to express its concern over the fate of the Mojahedin, the Iranian opposition group based }
{iraq and recognized both by the European Union and the US Department of State as a terrorist organization. Recen
American press reports about the possibility of their being used, by occupying powers in Iraq, against the regime in Tehra
are alarming, as such an attempt would be not only contrary to international law but also unethical.

In sum, the International Committee for Transition to Democracy in Iran calls upon Your Excellency to insist on full
prompt and impartial investigations of any allegations of violations of Human Rights in Iran in order to identify thei
perpetrators and to recommend the appropriate retributions for them.

Respectfully yours,

For the International Committee for Transition to Democracy in Iran

André Guillou, Directeur d’Etudes 4 1’Ecole des Hautes Etudes en Sciences Sociales

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Mr. Kofi Annan, Secretary-General
The United Nations Organization
United Nations Plaza

New York, NY, 10017, USA

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| yeys tes (cla 4 ys) aus gi Cel ay we Le Qui fo osliid Sal ys pala LSy pel cle gilae ya past cla LB 15S
“ogg Cath gi ce GENAD ne 5h AS GUL gus cyst gb ple Ua 4d pala Gig dp ccs alt GIS
gJalS CLES ys GIS ps Cal gS 50 clledin 5) Geel Sad Ag Gogh ILS coh cella) Gets og AAS CALS hy 5
SALAS j glad Gl Dude Wari sonal Ulet Jo ode Gla dy Sule oy ule alll 448 58 259 2 god 5 Hb
Abas Gules RS Ay y ais

cggial S09 Ay Shel ISB ploy cpllell ong HinS Lyk 5
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